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UNREDACTED VERSION OF
       EXHIBIT 1
     SOUGHT TO BE
   FILED UNDER SEAL
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                                                      OTTO TRUCKING LLC

                                        LIMITED LIABILITY COMP ANY AGREEMENT

                                               Dated and Effective as of April 6, 2016

                           The members listed in Schedule I hereto (together with any other Person that may become a
        Member hereunder, the "Members" and each a "Member") have fmmed Otto Trucking LLC, a limited liability
        company (the "Company"), pursuant to the provisions of the Delaware Limited Liability Company Act, §_ Del. ~-
        § 18-101 ~ ~- (the "Delaware Act") that from and after the date hereof shall be governed by, and operated
        pursuant to, the terms and provisions of this Limited Liability Company Agreement (this "Agreement").

                            ACCORDINGLY, the Members agree as follows:

        1.         Definitions.

                 The defined terms used in this Agreement shall , unless the context otherwise requires, have the meanings
        ascribed to them below.

                 "Affiliate" means a Person that directly or indirectly, through one or more intermediaries, controls, or is
        controlled by, or is under common control with, a specified Person. For purposes of this definition, "controls," "is
        controlled by," or "is under common control with" shall mean the possession, direct or indirect, of the power to
        direct or cause the direction of the management and policies of a Person, whether through the ownership of voting
        securities, by contract or otherwise.

                "Capital Account" means, with respect to any Member, the capital account maintained for such Member in
        accordance with Section 7(c).

               "Capital Contribution" means a contribution by a Member to the capital of the Company pursuant to this
        Agreement.

                  "Code" means lhe Internal Revenue Code of 1986, as amended. Any reference to a section of the Code
        shall include a reference to any amendatory or successor provision thereto.

                   "Company" shall have the meaning ascribed to it in the Preamble.

                   "Delaware Act" shall have the meaning ascribed to it in the Preamble.

                 "Distribution Threshold" shall mean, with respect to each Incentive Unit, an amount of Distributions
        specified by the Managing Members at the time of its issuance, which amount shall not be less than the amount of
        Distributions that would be distributed to the Members under Section 14.2(c) hereof if, at the time of the issuance of
        such Incentive Unit, all the assets of lhe Company were sold for their respective Fair Market Values, lhe liabilities of
        the Company were paid in full, and the remaining proceeds were distributed in accordance with Section 14.2(c);
        provided, tl1at such amount shall be adjusted automatically for Capital Contributions in accordance with Section
        7.3(b).

                 "Fiscal Year" means the period commencing on January 1 and ending on December 31 of year except as
        may otherwise be required by tl1e Code or Treasury Regulations; provided, however, that (a) in the case of the
        Company' s first fiscal year, "Fiscal Year" means the period from and including the date on which tl1e Company is
        formed under the Delaware Act to and including the immediately following December 31 and (b) the final Fiscal
        Year of the Company shall end on the date on which the winding up of the Company is completed.

                   "Incentive Member" shall mean any Member that holds Incentive Units, but only to tl1e extent of such
        holding.




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                 "Incentive Units" shall mean Units designated as Incentive Units m lhe Company, having the 1ights,
        designations, preferences and obligations set forlh in this Agreement.

                "Incentive Unit Agreement" shall mean any Incentive Unit Agreement between the Company and any
        Person pursuant to which any Incentive Units may be issued from time to time.

                 "Managing Members" means Anthony Levandowski and Lior Ron, and, if neither of such persons willing
        or able to serve as Managing Members, !hen the Managing Members shall be such Person or Persons who are
        determined in w1iting by holders of a majority in interest of lhe Units.

                 "Member" shall have lhe meaning ascribed to it in the Preamble.

                 "Percentage Interest" with respect to a Member means a fraction, expressed as a percentage, having as its
        numerator the total number of Units owned by the Member and as its denominator the total number of Units
        outstanding, each as of lhe time the Percentage Interest is to be determined.

                 "Person" shall be construed broadly and shall include an individual, a partnership, a corporation, an
        association, a joint stock company, a limited liability company, a trust, a joint venture, an individual retirement
        account, an unincorporated organization and a govermnental entity or any department, agency or political
        subdivision thereof.

                 "Profit" and "Loss" means for each taxable year or other period, an amount equal to the Company's taxable
        income or tax loss for the year or other period, detennined in accordance with Section 703(a) of lhe Code (including
        all items of income, gain, loss or deduction required to be stated separately under Section 703(a)(l) of the Code),
        with the following adjustments:

                          (a)     any income of the Company that is exempt from federal income tax and not olherwise
        taken into account in computing Profit or Loss will be added to taxable income or tax loss;

                          (b)     any expenditures of the Company described in Section 705(a)(2)(B) of the Code or
        treated as Section 705(a)(2)(B) expenditures under Treasury Regulations Section 1.704-l(b)(2)(iv)(i), and not
        otherwise taken into account in computing Profit or Loss, will be subtracted from taxable income or tax loss;

                          (c)      gain or loss resulting from any disposition of Company assets with respect to which gain
        or loss is recognized for federal income tax purposes will be computed by reference to the Book Basis of lhe
        property, notwithstanding that the adjusted tax basis of the property differs from its Book Basis;

                           (cl)     in lieu of depreciation, an10rtization and other cost recovery deductions taken into
        account in computing taxable income or tax loss, there will be taken into account depreciation for the taxable year or
        other period as cletemiinecl in accordance with Treasury Regulations Section 1.704-l(b)(2)(iv)(g);

                         (e)       any items specially allocated pursuant to Section 8(c) shall not be considered m
        determining Profit or Loss; and

                           (f)      any increase or decrease to Capital Accounts as a result of any adjustment to the book
        value of Company assets pursuant to Treasury Regulations Section l.704-1(b)(2)(iv)(f) or (g) shall constitute an
        item of Profit or Loss as appropriate.

                  "Sale of the Company" means (i) any sale of Units of the Company following which the holders of Units
        immediately prior to such sale own, directly or indirectly, less than fifty percent (50%) of all Units, (ii) any sale of
        interests in the Company following which the holders of such interests prior to such sale own, directly or indirectly,
        less than fifty percent (50%) of the combined voting power of the outstanding voting securities of the Company, (iii)
        any sale of all or substantially all of the assets of the Company and its subsidiaries taken as a whole, or (iv) any plan
        of reorganization, recapitalization, merger or consolidation involving the Company except for a reorgaiiization,
        recapitalization, merger or consolidation where the holders of the combined voting power represented by the U1Iits



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        of the Company immediately prior to such reorganization, recapitalization, merger or consolidation own, directly or
        indirectly, at least fifty percent (50%) of the combined voting power of the outstanding voting securities of the
        company or other entity resulting from such reorganization, recapitalization, merger or consolidation.

                "Tax Basis" means, with respect to any item of Company property, the adjusted basis of such property as
        determined in accordance with the Code.

                'Treasurv Regulations" means the regulations promulgated by the U.S. Department of the Treasury under
        the Code.

                 "Unvested Incentive Unit" means any Incentive Unit that is not a Vested Incentive Unit.

                  "Vested Incentive Unit" means any Incentive Unit that has vested pursuant to the tenns and conditions of
        (i) the Incentive Unit Agreement or other document pursuant to which such Incentive Unit was acquired by the
        initial holder thereof or (ii) any other document governing the vesting of such Incentive Unit.

        2.     Name. The name of lhe Company shall be Otto Trucking LLC, or such other name as the Managing
        Members may from time to time hereafter designate.

        3.       Purpose. The Company is formed for the object and purpose of, and the nature of the business to be
        conducted and promoted by the Company is, engaging in any lawful act or activity for which limited liability
        companies may be fonned under the Delaware Act and engaging in any and all activities necessary or incidental to
        the foregoing provided, however, that the Company is intended to be, and shall be operated as, an "operating
        company," within the meaning of United States Department of Labor Regulations Section 2510.3-101.



                (a)       The principal office of the Company is 2330 Cowper Street, Palo Alto, CA 94301. The Company
        may locate its place of business and registered office at any other place or places from time to time.

                 (b)      The registered office of the Company in the State of Delaware is located at 2711 Centerville Road,
        Suite 400, Wilmington, Delaware 19808, County of New Castle. The registered agent of the Company for service
        of process at such address is Corporation Service Company.

        5.       Tenn. The term of the Company commenced on the date the Certificate of Formation was filed with the
        Secretary of State of Delaware and shall continue until terminated in accordance with the provisions of !his
        Agreement or the Delaware Act.

        6.       Members and Units.

                  (a)     Units Generally. The name, address and number of Units of the initial Members are set forlh
        opposite such Member's name in Schedule I. One or more additional members of the Company may be admitted to
        the Company with the approval of the Managing Members. Each Member, by signing this Agreement or a
        counterpart signature page hereto (a) agrees !hat if lhe laws of any jurisdiction in which the Company transacts
        business so require, the Managing Members shall take or cause to be taken all such actions required for lhe
        Company to qualify to transact business under such laws (including tl1e filing of any necessary documents with the
        appropriate office in that jurisdiction), and (b) agrees and obligate themselves to execute, acknowledge and cause to
        be filed for record, as required by law, any amendments to lhe Company's certificate of formation !hat may be
        required by applicable law to reflect changes in the information included therein and/or for the continuation,
        preservation and operation of the Company as a limited liability company under the Delaware LLC Act. Prior to the
        date of this Agreement, the Company has taken all actions required under Section 17711.B(b) of the California
        Revised Uniform Li1nited Liability Company Act ("CRULLCA") to cause Article 11 of the CRULLCA not to apply
        to tl1e Company or any of tl1e outstanding membership interests of tl1e Company. In furtherance of the foregoing, by
        execution of this Agreement or a counterpart signature page hereto, each of tl1e Members hereby waives the
        application of Article 11 of tl1e CRULLCA which affords, in certain circumstances and subject to the limitations set



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        forth therein, the holders of equity interests with dissenters' rights under the CRULLCA in respect of their equity in
        a limited liability company.

                 (b)      Incentive Units

                          (i)      Equity Plans. The Managing Members may create one or more incentive equity or profit
                                   interests plans for the Company which, among other things, may provide for the grant of
                                   options to acquire Units, the 1ight to purchase Units, or the grant of Incentive Units
                                   intended to qualify as profits interests to employees and consultants of the Company
                                   (each, an "Equity Plan"). Unless otherwise set forth in an Equity Plan, no holder of an
                                   option or other right to acquire Units shall be a Member of the Company or have any
                                   1ights as a Member of the Company until such time as such person acquires Units of the
                                   Company. In connection with the Conversion, the Company is adopting the Otto
                                   Trucking LLC Unit Incentive Plan, attached hereto as Exhibit A, which provides that
                                   2,400,000 shall be available for award grant purposes under the plan.

                          (ii)     Options. In the event an employee is granted an option to acquire Units in the Company
                                   and an employee exercises that option, to the extent pennitted by law: (i) the Company
                                   shall be treated as having made a cash payment to the employee (representing
                                   compensation to such employee) in an amount equal to the sum of (a) the fair market
                                   value of the Units acquired by the employee pursuant to the exercise of the option on the
                                   date of exercise (taking into account for such purposes the Company's receipt of the
                                   exercise price on such option), minus (b) the exercise price paid by the employee under
                                   the option (such sum, the "Spread Amount"); (ii) the employee shall be treated as having
                                   made a Capital Contribution to the Company equal to the sum of (a) the exercise price
                                   paid by the employee under the option, and (b) the Spread Amount; and (iii) any
                                   deduction recognized by the Company that is attributable to the issuance of the Units
                                   pursuant to the exercise of a option shall be allocated to the existing Members of the
                                   Company in accordance with Section 8.

                          (iii)    Profits Interests. The Company and each Member agree to treat each Incentive Unit
                                   granted to an Incentive Member pursuant to the Incentive Unit Agreement as a separate
                                   "profits interest" within the meaning of Rev. Proc. 93-27, 1993-2 C.B. 343. In
                                   accordance with Rev. Proc. 2001-43, 2001-2 CB 191, the Company shall treat each
                                   Incentive Member as the owner of its Incentive Units from the date such Incentive Units
                                   are granted, and shall file its IRS Forni 1065, and issue appropriate Schedules K-1, to
                                   such Incentive Member, allocating to such Incentive Member its distributive share of all
                                   items of income, gain, loss, deduction and credit associated with such Incentive Units as
                                   if they were Vested Incentive Units. Each Incentive Member agrees to take into account
                                   such distributive share in computing its U.S. federal income tax liability for the entire
                                   period during which he, she or it holds such Incentive Units. The Company and each
                                   Member agree not to claim a deduction (as wages, compensation or otherwise) with
                                   respect to any Incentive Unit issued to an Incentive Member, either at the time of the
                                   grant of the Incentive Unit or at the time the Incentive Unit becomes a Vested Incentive
                                   Unit. The undertakings contained in this Section 6(b)(i) shall be construed in accordance
                                   with Section 4 of Rev. Proc. 2001-43. Each Incentive Member who receives an Unvested
                                   Incentive Unit (whether issued on or after the date hereof) agrees to timely and properly
                                   make an election under Section 83(b) of the Code with respect to each Unvested
                                   Incentive Unit received. The provisions of this Section6(b)(i) shall apply regardless of
                                   whether or not the Incentive Member files an election pursuant to Section 83(b) of the
                                   Code with respect to such Incentive Units.

                          (iv)     Each Incentive Unit shall have a Distribution Threshold set forth in the Incentive
                                   Member's Incentive Unit Agreement, and the Incentive Member will be eligible to
                                   receive distributions with respect thereto to the extent provided in Sections 9 and 11. A
                                   Member's Distribution Threshold shall be adjusted automatically to take into account any


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                                    additional Capital Contributions made to the Company by a Member. The intent of this
                                    Section 6(b)(ii) is to ensure that all Incentive Units issued qualify as "profits interests"
                                    under Rev. Proc. 93-27 and Rev. Proc. 2001-43, and this Section 6(b)(i) and the other
                                    provisions of this Agreement shall be interpreted and applied consistently therewith.

                          (v)       The Managing Members may elect to cause the Company to make an election to value
                                    any Incentive Units prospectively issued by the Company as compensation for services to
                                    the Company at liquidation value (the "Safe Harbor Election"), as the same may be
                                    permitted pursuant to or in accordance with the finally promulgated successor rnles to
                                    proposed Treasury Regulations Section 1.83-3(1) and IRS Notice 2005-43 (collectively,
                                    the "Proposed Rules"). Upon such election, the Managing Members shall cause the
                                    Company to make any allocations of items of income, gain, deduction, loss or credit
                                    (including forfeiture allocations and elections as to allocation periods) necessary or
                                    appropriate to effectuate and maintain the Safe Harbor Election. Any such Safe Harbor
                                    Election shall be binding on the Company and on all of the Members with respect to all
                                    transfers of Incentive Units thereafter made by the Company while a Safe Harbor
                                    Election is in effect. A Safe Harbor Election once made may be revoked by the
                                    Managing Members as permitted by the Proposed Rules or any applicable rnle.

        7.       Ownership and Capital Contributions; Capital Accounts; Financings.

                 (a)      Units.

                         (i)      The Company shall be authorized to issue up to 10,000,000 units (the "Units"), which
        may include Incentive Units, from time to time. The Company may reissue any Units that have been cancelled or
        repurchased or acquired by the Company.

                           (ii)     If determined by the Managing Members, each Unit will be evidenced by a certificate of
        limited liability company interest issued by the Company in such form as is approved by the Managing Members
        (the "Membership Interest Certificates"). Each Unit shall be transferable only on the books of the Company, to be
        kept by the Secretary of the Company, on surrender thereof by the registered holder in person or by attorney-in-fact,
        and until so transferred, the Company may treat the registered holder of a Unit as the owner of such Unit evidenced
        thereby for all purposes. Nothing contained in this Section 7(a)(ii) shall be deemed to authorize or permit any
        Member to Transfer its Units except as otherwise permitted pursuant to Section 17. Each such Unit shall be a
        "security" governed by Article 8 of the Uniform Commercial Code as in effect in any jurisdiction in which it has
        been adopted. Each Membership Interest Certificate shall bear the legends set forth in Section 17.

                 (b)      Capital Contributions.

                           (i)     On or about the date hereof, each Member is making or shall be deemed to have made a
        Capital Contribution to the Company in the amount set forth on Schedule I in exchange for the number of Units set
        forth opposite such Member's name on Schedule I, which Units shall constitute all of the issued and outstanding
        equity securities of the Company as of the original date hereof. Other than the Capital Contributions set forth on
        Schedule I, no Member shall have any obligation to make any additional Capital Contributions to the Company.

                           (ii)    No Member nor other Person may make any additional Capital Contributions without the
        prior consent of the Managing Members. In the event of any Capital Contribution (other than the Capital
        Contiibutions set forth on Schedule I), the Company shall issue to the contributing Member or Person that number
        of additional Units, in exchange for such Capital Contribution, equal to the Capital Contribution Value divided by
        the Effective Price Per Unit. For purposes of this Agreement:

                                •   the "Capital Contribution Value" shall be, with respect to any Capital Contribution made
                                    by a Member in any given offering, the amount of cash or other immediately available
                                    funds making up such Capital Contribution plus, if the receipt of any other property is
                                    pernlitted as a part of such Capital Contribution by the Members, the fair market value of



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                                      any such other property making up such Capital Contribution, valued in good faith by the
                                      Managing Members, taking into account relevant markets (if any) in which such property
                                      is traded;

                                  •   the "Effective Price Per Unit" shall be, with respect to any given offering, the quotient
                                      obtained by dividing the Aggregate Company Value (before giving effect to such
                                      offering) by the total number of Units outstanding immediately prior to the issuance of
                                      any Units in connection with such offering; and

                                  •   the "Aggregate Company Value" shall be the aggregate fair market value of the
                                      Company, which value shall be detennined in good faith by the Managing Members.

                 (c)      Establishment and Maintenance of Capital Accounts.

                           (i)       A separate Capital Account will be established and maintained for each Member for each
        class of Units held by such Member in accordance with this Section 7(c). Each Member's Capital Account shall
        equal such Member's Capital Contribution, adjusted in accordance with the provisions of Section 7(c)(ii) and
        Section 7(c)(iii). The initial Capital Account balance with respect to any Member's Incentive Units as of the date of
        the issuance of such Incentive Units shall be zero.

                          (ii)        Each Member's Capital Account with respect to a particular class of Units will from time
        to time be increased by:

                                   (a)    the amount of money contributed by such Member to the Company with respect
        to such Units (including the amount of any Company liabilities which the Member assumes (within the meaning of
        Treasury Regulations Section 1.704- l(b)(2)(iv)( c ));

                                    (b)      the fair market value of property contiibuted by such Member to the Company
        with respect to such Units (net of any liabilities secured by such property that the Company is considered to assume
        or take su~ject or pursuant to Section 752 of the Code); and

                                  (c)      allocations to such Member of Profits (or the amount of any item or items of
        income or gain included therein) with respect to such Units.

                          (iii)       Each Member's Capital Account with respect to its Units will from time to time be
        reduced by:

                                   (a)    the amount of money distributed to such Member by the Company in respect of
        such Units (including the amount of such Member's individual liabilities for which the Company becomes directly
        and primarily liable);

                                     (b)      the fair market value of property distributed to such Member by the Company
        (net of any liabilities secured by such property that such Member is considered to assume or take subject or pursuant
        to Section 752 of the Code); and

                                      (c)     allocations to such Member of Losses and deduction (or items thereof).

                          (iv)      This Section 7(c) and other provisions of this Agreement relating to the maintenance of
        Capital Accounts are intended to comply with Treasury Regulations Sections 1.704-l(b) and 1.704-2, and they shall
        be interpreted and applied in a manner consistent with those Treasury Regulations. If the Managing Members
        detennine that it is prudent to modify the manner in which the Capital Accounts, or any debits or credits thereto
        (including, without limitation, debits or credits relating to liabilities which are secured by contributed or distributed
        property or which are assumed by the Company or a Member), are computed in order to comply with those Treasury
        Regulations, the Managing Members may make such modification;provided, however, that the Managing Members




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        shall use reasonable efforts to ensure that no such modification materially and adversely affects the econmnic
        interests of any Member.

                          (v)      Each Member recognizes and intends that for federal and state income tax purposes, the
        Company will be classified as a partnership during any period that the Company has two or more Members, and the
        Members will not make any election or talce any other action that would cause the relationship of the Members
        under this Agreement to be excluded from the application of all or any part of Subchapter K of Chapter 1 of Subtitle
        A of the Code, from any successor provisions to Subchapter K of the Code or from similar provisions of state law or
        the law of any foreign jurisdiction; provided, however, that the Company may be converted to a C corporation with
        the approval of a majority of the Units held by the Members.

                          (vi)      A Person who is substituted as a Member pursuant to this Agreement shall be deemed to
        have made the Capital Contributions, if any, attributable to the Units it is acquiring and shall succeed to the Capital
        Account of its transferor to the extent of the Units it is acquiring.

                          (vii)     Section 754 of the Code perrnits the Company to elect to adjust the basis of Company
        property on the transfer of an interest in the Company by sale or exchange, or on the death of a Member, and on the
        distribution of property by the Company to a Member. Unless the Managing Members deterrnine that it is
        umeasonable to make a Section 754 election after considering the interests of the Company and its Members, the
        Managing Members shall make such an election upon the occurrence of an event described in the preceding
        sentence.

                (d)       Other Matters. Except as otherwise set fortl1 in Section 9(f), Section 11 and Section 17, no
        Member shall be entitled to receive a return on or of its Capital Contributions from the Company without the
        consent of the Members. Under circumstances requi1ing a return of any Capital Contributions from the Company,
        no Member has tl1e right to receive property other than cash except as specifically set fortl1 in Sections 9(c) and li,
        No Member shall receive any interest, salary, compensation, draw or reimbursement with respect to its Capital
        Contiibutions or its Capital Account, or for services rendered or expenses incurred on behalf of the Company or
        otherwise in its capacity as a Member, except as may otl1erwise be autl101ized by the Members. Except as any
        Member may otherwise agree in writing, no Member shall be liable for the debts or any other obligations of the
        Company.

        8.       Allocations of Profits and Losses.

                  (a)      Time of Allocations. The Managing Members shall use reasonable efforts to determine and
        allocate all items of income, gain, loss, deduction and credit pursuant to this Section 8 witl1in ninety days after the
        end of each Fiscal Year.

                  (b)      Profits and Losses. Profits and Losses, and if necessary (in the reasonable judgment of the
        Managing Members), other items of income (including gross income), gain, loss, and deduction, for each Fiscal
        Year shall be allocated among the Members such that the applicable Capital Account of each Member, immediately
        after giving effect to such allocations, shall equal, as nearly as possible, tl1e amount of the distributions that would
        be made to the Member during such Fiscal Year if (i) the Company were dissolved and terminated, (ii) its affairs
        were wound up and each asset with respect thereto were sold for its book value (except that any asset which was the
        subject of a disposition in such Fiscal Year shall be treated as if it were sold for cash equal to the sum of the amount
        received by the Company in any such disposition and the fair market value of any other property received by the
        Company in such disposition), (iii) all liabilities of the Company were satisfied, and (iv) the net assets of the
        Company were distributed to the Members in accordance with Section 9(b ).

                 (c)      Special Allocations.

                          (i)      Notwitl1standing any other provision of this Section 8, if there is a net decrease in
        Partnership Minimum Gain or Partner Nomecourse Debt Minimum Gain (deterrnined in accordance with the
        principles of Treasury Regulations Sections 1.704-2(d) and 1.704-2(i)) during the Fiscal Year, each Member shall be
        specially allocated items of Company income and gain for such year (and, if necessary, subsequent years) in an



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        amount equal to its respective share of such net decrease during such year, detennined pursuant to Treasury
        Regulations Sections l.704-2(g) and 1.704-2(i)(S). The items to be so allocated shall be determined in accordance
        with Treasury Regulations Section 1.704-2([). This Section 8(c) is intended to comply with lhe minimum gain
        chargeback requirement in such Treasury Regulations Section and shall be interpreted consistently lherewilh,
        including !hat no chargeback shall be required to the extent of the exceptions provided in Treasury Regulations
        Sections 1.704-2([) and 1.704-2(i)(4).

                           (ii)     Notwithstanding any other provision of this Section 8 other than Section 8(c)(i) above, in
        the event any Member unexpectedly receives any adjustments, allocations, or distributions described in Treasury
        Regulations Section 1.704-l(b)(2)(ii) (d)(4), (5) or (6), items of Company income and gain shall be specially
        allocated to such Member in an amount and manner sufficient to eliminate, to the extent required by the Treasury
        Regulations, the Adjusted Capital Account Deficit created by such adjustments, allocations or distributions as
        promptly as possible;provided, however, that an allocation pursuant to this Section 8(c)(ii) shall be made only if and
        to the extent that a Member would have an Adjusted Capital Account Deficit in excess of such sum after all other
        allocations provided for in this Section 8 have been tentatively made as if !his Article were not in tl1is Agreement.

                            (iii)    In the event any Member has an Adjusted Capital Account Deficit at the end of any
        Fiscal Year, each such Member shall be specially allocated items of Company income and gain in the amount of
        such excess as quickly as possible; provided, however, that an allocation pursuant to this Section 8(c)(iii) shall be
        made only if and to the extent that a Member would have an Adjusted Capital Account Deficit in excess of such sum
        after all other allocations provided for in tllis Section 8 have been tentatively made.

                          (iv)      Nomecourse Deductions shall be specially allocated to the Members in proportion to
        their Percentage Interests.

                           (v)      Any Partner Nonrecourse Deductions for any Fiscal Year or other pe1iod shall be
        specially allocated to lhe Member who bears the economic risk of loss witl1 respect to the Partner Nonrecourse Debt
        to which such Partner Nonrecourse Deductions are attiibutable in accordance wilh Treasury Regulations Section
         L.704-2.

                 (d)      Other Allocations. If during any taxable year of the Company there is a change in any Member's
        Percentage Interest (including a complete tenrlination of such Member's interest), allocations of Profits and Losses
        for such taxable year will take into account the varying Percentage Interests of the Members in any mam1er
        detennined by the Managing Members consistent with the requirements of Section 706 of the Code; provided,
        however, that the Members hereby agree that the Managing Members may, in their sole discretion, use a "pro rata"
        method under Treasury Regulation Section 1.706-l(c)(2) in making such allocations, and that the Managing
        Members may instead, in its sole discretion, apply a "closing of the books" method in making such allocations. In
        the event a Safe Harbor Election is made, the Managing Members shall cause the Company to make any allocations
        of items of income, gain, deduction, loss or credit (including forfeiture allocations and elections as to allocation
        periods) necessary or appropriate to effectuate and maintain the Safe Harbor Election. In addition, the Managing
        Members shall be authorized to make, in their sole discretion, appropriate amendments to the allocations of items
        pursuant to !his Agreement (i) to properly allocate items of income, gain, loss, deduction and credit to those
        Members who bear the economic burden or benefit associated tl1erewith, or (ii) olherwise to cause the Members to
        achieve lhe economic objectives of this Agreement (as reasonably determined by the Managing Members).

                 (e)      Reallocation. If the Managing Members detennine tl1at the Code or any Treasury Regulations
        require allocations of items of income, gain, loss, deduction or credit different from those set forth in tllis Section 8,
        the Managing Members are hereby authorized to make new allocations in reliance on, but only to the extent required
        by, the Code and such Treasury Regulations, and no such new allocation will give rise to any claim or cause of
        action by any Member.

                 (f)     Allocation of Tax Items. Except as otherwise provided in this Section 8, all items of income, gain,
        loss and deduction will be allocated among the Members for federal income tax purposes in the same mamier as the
        con-esponding allocation for Capital Account purposes.




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                 (g)       Section 704(c) Allocations. In the event that the fair market value of an item of Company
        property differs from its Tax Basis , allocations of depreciation, depletion, ammtization, gain and loss with respect
        to such property will be made for federal income tax purposes in a mam1er that takes account of the variation
        between the Tax Basis and fair market value of such property in accordance with Section 704(c)(l)(A) of the Code
        and Treasury Regulations Section 1.704-l(b)(4)(i). The Managing Members may select any reasonable method or
        methods for making such allocations, including, without limitation, any method described in Treasury Regulations
        Sections 1.704-3(b), (c), or (d).

                 (h)      Special Deemed Capital Contributions and Allocations. If a Member incurs an expense (including
        any amounts that must be capitalized) on behalf of the Company and the expense is not reimbursed by the Company,
        then the Member shall be deemed to make a capital contribution to the Company in an amount equal to the amount
        of the expense and any deductions, depreciation or amortization with respect to such item shall be specially
        allocated to the Member that incurred the expense.

                  (i)     Reporting. The Members acknowledge and are aware of the income tax consequences of the
        allocations made by Section 8 and hereby agree to be bound by the provisions of Section 8 in reporting their shares
        of Profits and Losses and other items of income, gain, loss, deduction and credit for federal, state and local income
        tax purposes.

        9.       Distributions.

                 (a)      General. Subject to Section 9(f), the Managing Members may elect to distribute or retain and
        reinvest any gains and capital to the Members.

                (b)      Amount and Time of Distributions. Except as set forth in Section 11, to the extent that the
        Company makes distributions to the Members pursuant to this Section 9 or pursuant to any other provision of this
        Agreement, all net proceeds will be distributed to the Members in respect of their Units pro rata based on the
        number of Units then held.

                  (c)      Distributions in Kind. Distributions pursuant to this Section 9 may be made, at the sole discretion
        of the Managing Members, in cash or as in kind distributions of securities; provided, however, that the Managing
        Members will not distribute securities in kind unless (a) they are marketable securities, or (b) such distribution is in
        connection with a liquidation under Section 11. Distributions consisting of both cash and securities shall be made,
        to the extent practicable, in pro rata portions of cash and such securities as to each Member receiving such
        distiibutions. In the event of an in kind distribution by the Company, the Capital Accounts shall be adjusted with
        respect to the securities distributed in accordance with Section 7(d)(ii).

                  (d)      Distributions to Record Holders of Units. Any distribution by the Company pursuant to the tem1s
        of this Section 9 or Section 11 to the Person shown on the Company's records as a Member or to its legal
        representatives, or to the assignee of the right to receive such distributions as provided herein, shall, to the fullest
        extent pennitted by law, discharge the Company and the Managing Members of all liability to any other Person who
        may be interested in such distribution by reason of any other assigmnent or Transfer of such Member's Units for any
        reason (including an assigmnent or Transfer thereof by reason of death, incompetence, Bankruptcy or liquidation of
        such Member). For purposes of the foregoing, the "Bankruptcy" of a Member shall mean the occurrence of any of
        the following: (i) any govermnental authority, or any court at the instance thereof, shall take possession of any
        substantial part of the property of that Member or shall assume control over the affairs or operations thereof, or a
        receiver or trnstee shall be appointed, or a writ, order, attaclnnent or garnishment shall be issued with respect to any
        substantial part thereof, and such possession, assumption of control, appointment, writ or order shall continue for a
        period of sixty consecutive days; (ii) a Member shall admit in writing its inability to pay its debts when due, or make
        an assignment for the benefit of creditors; or apply for or consent to the appointment of any receiver, trnstee or
        similar officer or for all or any substantial part of its property; or shall institute (by petition, application, answer,
        consent or otherwise) any bankruptcy, insolvency, reorganization, arrangement, readjustment of debts, dissolution,
        liquidation, or si1nilar proceeding under the laws of any jurisdiction; or (iii) a receiver, trnstee or similar officer shall
        be appointed for such Member or with respect to all or any substantial part of its property without the application or
        consent of that Member, and such appointment shall continue undischarged or unstayed for a period of sixty (60)
        consecutive days or any bankrnptcy, insolvency, reorganization, arrangements, readjustment of debt, dissolution,


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        liquidation or similar proceedings shall be instituted (by petition, application or olhenvise) against that Member and
        shall remain undismissed for a period of sixty consecutive days.

                  (e)      Legal Restrictions on Distributions; Withholding. Notwithstanding any provision to the contrary
        contained in this Agreement, the Company shall not make a distribution to any Member on account of the Members'
        Units if such distribution would violate the Delaware Act or other applicable law. The Company shall be authorized
        to withhold from distributions hereunder any amounts required to be withheld by applicable law, and such
        withholdings shall be treated for all purposes of the Agreement as if such amounts had been distributed hereunder.

                 (f)      Reserves. The Managing Members may set aside reasonable reserves for anticipated liabilities,
        obligations or commitments of the Company.

                 (g)      Withholdings. The Company shall be entitled to witllhold any amounts required pursuant to the
        Code or any provision of any state, local or foreign tax law witl1 respect to any payment or distribution to be made to
        a Member pursuant to tlris Agreement and shall pay such amounts to the appropriate taxing autl10rity as required by
        law. Any amounts so withheld shall be treated as amounts paid or distributed, as the case may be, to the Member
        with respect to whom such amount was withheld and shall be treated as a preliminary distribution of, and shall offset
        any, future amounts of distributions due to such Member under the provisions of Section 9(b).

        10.      Management: Officers; Formation; Waiver of Information Rights; Other Matters.

                 (a)      Managing Members.

                          (i)      Full responsibility for management of the business and affairs of the Company shall be
        delegated to and vested in the Managing Members pursuant to Section 18 402 of the Delaware LLC Act, who shall
        have all of the authority of a "manager" under the Delaware Act. Subject to the delegation of rights and powers
        provided for herein, the Managing Members shall have the sole right to manage the business of the Company and
        shall have all powers and rights necessary, appropriate or advisable to effectuate and carry out the purposes and
        business of the Company, and to execute any document on behalf of the Company in all cases consistent with this
        Agreement. No Member shall by reason of its status as such have any authority to act for and bind the Company.
        Notwithstanding anything in tlris Agreement to the contrary, no Member shall by reason of its status as such have
        any 1ight to vote on or approve any matter of the Company and tl1e Managing Members shall have no obligation to
        submit any matter of the Company to a vote or approval of the Members.

                            (ii)     Any action that may be taken by the Managing Members under tlris Agreement may be
        taken without a meeting if written consents setting forth the action so taken are signed by a majority of the
        Managing Members. Any Managing Member may resign at any time by giving written notice to tl1e other Managing
        Member(s). Any such resignation shall take effect at the time specified therein, or, if no time is specified, upon
        receipt tl1ereof; and unless otherwise specified therein, acceptance of such resignation shall not be necessary to make
        it effective. Any vacancy caused by such resignation may be filled by action of the remaining Managing Members.
        If at any time there are no Managing Members of the Company, the Members shall have the linrited voting authority
        to elect one Managing Member by an action of the Members holding at least a majority of the then-outstanding
        Units.

                 (b)     Certain Actions. The Company may, with tl1e written consent of the Managing Members and
        without any other consent of any Member take any action wi 1h respect to the Company, including but not limited to
        the following:

                         (i)      except for the Capital Contributions set forth on Schedule I, require any Member to make
                 any Capital Contribution;

                          (ii)    increase or decrease the authorized number of members constituting Managing Members
                 or appoint any Person as a Managing Member;

                          (iii)    adnrit a new Member;



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                           (iv)    consummate a Sale of the Company or an initial public offering of the Company's
                 securities;

                         (v)      purchase or otherwise acquire any equity interest in any entity (other than a wholly-
                 owned subsidiary of the Company); or

                          (vi)     permit any Member to Transfer any of its Units, oilier than             111   accordance with
                 Section 17.

                  (c)      Duties.     No Managing Member shall be liable to the Company or any Member for any action
        taken in managing the business or the affairs of the Company if such Managing Member performs its duties in
        compliance with the standards contained herein and the Delaware Act. Notwithstanding anything herein to the
        contrary, the Managing Members do not, shall not and will not owe any fiduciary duties of any kind
        whatsoever to any of the Members, by virtue of the role of each as a Managing Member, including, but not
        limited to, the duties of due care and loyalty, whether such duties were established as of the date of this Agreement
        or any time hereafter, and whether established under common law, at equity or legislatively defined. It is the
        intention of the parties to this Agreement that any such fiduciary duties be affinnatively eliminated as pennitted by
        Delaware law and under the Delaware Act and the Members hereby waive any rights with respect to such fiduciary
        duties.

                 (d)      q[ficers. Officers of the Company (if any) may be designated and appointed by lhe Managing
        Members from time to time, to hold such positions and with such powers, as the Managing Members shall deem
        necessary or desirable. The initial officers of the Company shall be Anlhony Levandowski as Executive Chairman
        and Lior Ron as President, Chief Executive Officer, and General Manager.

                 (e)       Delegation by the Managing Members. The Managing Members may delegate such general or
        specific authority to the officers of the Company as they from time to time shall consider desirable, and the officers
        of the Company may, subject to any limitations imposed by the Managing Members, exercise the authority granted
        to them.

                (f)      Reimbursement of Expenses. The Managing Members shall be reimbursed for all reasonable
        expenses incun-ed by !hem on behalf of the Company.

                 (g)      Formation. The Members hereby ratify, confinn and approve any and all actions taken by the
        officers and their designees as an authorized person within the meaning of the Delaware Act (an "Authorized
        Person"), including, without limitation, the execution and filing of the Certificate of Fomrntion of the Company with
        the Secretary of State of the State of Delaware (the "DE Secretary of State") for the purpose of fonning the
        Company.

        11.      Dissolution.

                 (a)     Subject to the provisions of Section 1 l(b), the Company shall be dissolved and its affairs wound
        up and terminated upon the first to occur of the following:

                           (i)     the detennination of the Managing Members to dissolve the Company; or

                           (ii)    the withdrawal of the Members or the occurrence of any other event causing a dissolution
                                   of the Company under Section 18-801 of the Delaware Act.

                 (b)      Upon dissolution of the Company, the Company's affairs shall be promptly wound up. The
        Company shall engage in no further business except as may be necessary, in the reasonable discretion of tl1e
        Managing Members, to preserve the value of the Company's assets during the period of dissolution and liquidation.
        The assets of the Company shall be distributed first to satisfy or provide for the satisfaction of all liabilities of the
        Company to creditors, including liquidating expenses and obligations; and thereafter to the Members consistent with
        Section 9(b) and taking into account any amounts previously distributed pursuant to Section 9(b).



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                 (c)      When all debts, liabilities and obligations have been paid and discharged or adequate provisions
        have been made therefor and all of the remaining property and assets have been distributed to the Members, a
        Certificate of Cancellation shall be executed and filed with the Secretary of State of Delaware in accordance with
        Section 18-203 of the Delaware Act.

                (d)      No Member shall be personally liable for a deficit Capital Account balance of that Member, it
        being expressly understood that the distribution of liquidation proceeds shall be made solely from existing Company
        assets.

        12.        Limitation on Liability. Except as otherwise provided by the Delaware Act, the debts, obligations and
        liabilities of the Company, whether arising in contract, tort or otherwise, shall be solely the debts, obligations and
        liabilities of the Company, and the Members shall not be obligated for any such debt, obligation or liability of the
        Company.

        13.      Indemnification.

                  (a)     The Company shall, to the fullest extent permitted by law, indenmify each Managing Member and
        Member, any owner or principal of each Member, each officer, any Person that is a partner, officer, employee, agent
        or representative of each Member, and any other Persons as the Managing Members may reasonably designate from
        time to time (each, an "Indemnitee") from and against any and all losses, claims, damages, liabilities, costs and
        expenses (including attorneys' fees and costs), judgments, fines, settlements, and other amounts alising from any
        and all claims, demal1ds, actions, suits or proceedings, civil, criminal, administrative or investigative, that relate to
        the operations of lhe Company in which any Indenmitee may be involved, or is threatened to be involved, as a party
        or otherwise, unless it is established that all act or omission of the Indemnitee was material to the matter giving rise
        to the claim, demand, action, suit or proceeding and (i) was committed in bad faith, (ii) was the result of active and
        deliberate dishonesty, or (iii) constituted gross negligence or willful nlisconduct or a willful breach of this
        Agreement or allY other agreement to which such Indemnitee is a party. Any indemnification pursuant to this
        Section 13 shall be made only out of lhe assets of the Company, and the Members shall not be required to contribute
        or adval1ce funds to the Compal1y to enable the Company to satisfy its obligations under this Section 13.

                   (b)    Reasonable expenses incurred by all Indenmitee who is a party to a proceeding shall be paid or
        reimbursed by the Company in advance of the final disposition of the proceeding upon receipt by the Compal1y of (i)
        a written affirmation by the Indem1litee of the Indenmitee's good faith belief that it is entitled to indenmification by
        the Company pursuant to tllis Section 13 with respect to such expenses and proceeding, and (ii) a written
        undertaking by or on behalf of the Indemnitee, to and in favor of the Company, wherein the Indenmitee agrees to
        repay the amount if the Indenmitee shall ultimately be adjudged not to have been entitled to indemnification under
        tllis Section 13.

                 (c)     The provisions of this Section 13 are for the benefit of lhe Indemnitees, their heirs, successors,
        assigns and administrators alld shall not be deemed to create any rights for the benefit of any other Persons. In
        addition, the Company is hereby authorized to enter into such indemnification agreements with tl1e Mal1aging
        Members, each officer of tl1e Compal1y or any other Member as deemed to be approp1iate by the Managing
        Members, in their sole discretion.

        14.       Severability. If any provision of this Agreement shall be detemlined to be illegal or unenforceable by any
        court of law, the remaining provisions shall be severable and enforceable in accordance with their tenns.

        LS.      Entire Agreement; Amendment. This Agreement and the other writings refen-ed to herein contain the
        entire agreement witl1 respect to tl1e subject matter hereof and supersede all prior agreements and understandings
        with respect thereto. Except as otherwise provided in tl1is Agreement or the Delaware Act, this Agreement may be
        amended only by tl1e written consent of the Managing Members. Notwilhstanding anytl1ing in this Agreement to the
        contrary, Schedule I to this Agreement shall be updated to reflect the issual1ce of additional equity interests in the
        Company and new counterpalt signature pages to this Agreement shall be added to reflect the adnlission of any new
        Member.




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         L6.     Governing Law; Jmisdiction. The law of the State of Delaware, without regard to its conflicts of law
        principles, shall govern the validity of this Agreement, the construction and interpretation of its terms, the
        organization and internal affairs of the Company and the limited liability of any managers, officers, Member and
        other owners. Any action or proceeding seeking to enforce any provision of, or based on any right arising out of,
        this Agreement may be brought against any of the parties only in the Court of Chancery of the State of Delaware,
        and each of the parties consents to the jurisdiction of such court (and of the appropriate appellate courts) in any such
        action or proceeding and waives any objection to venue laid therein.

        17.      Transfer of Units; Legends.

                  (a)       No Member may transfer, assign, encumber, hypothecate, pledge, convey in trust, gift, transfer by
        bequest, devise or descent or otherwise make the subject of disposition any Units or other equity interests of the
        Company unless such transaction is first approved in writing by Managing Members (which approval may be
        withheld for any reason). For the avoidance of doubt, the following shall be considered a transfer, encumbrance or
        other disposition within the scope of the immediately preceding sentence: any decoupling of any partial interests in
        any Units or other equity interests in the Company by the Member to any other person (for example, a Member
        retaining any voting rights such Member may have with respect to its Units while transferring the economic rights
        associated with the same to another party, or vice versa). Such restriction, however, shall not be applicable to: (i)
        any transfer by will or intestate succession upon death or any gratuitous transfer of the Units of the Company to any
        spouse or member of a Member's immediate family (including adopted children) or grandchildren (or the immediate
        fanlily of any such person), or to a custodian, trustee (including a trustee of a voting trust), executor or other
        fiduciary for the account of his or her spouse or members of his or her immediate family (including adopted
        children) or grandchildren (or to the immediately family of any such person), or to a trust for himself or herself, or a
        charitable remainder trust; (ii) any sale to the public pursuant to an effective registration statement under the
        Securities Act of 1933, as amended; or (iii) any bona fide gift to any charitable orga:rlization as defined in Section
        501(c)(3) of the Internal Revenue Code. Upon surrender to the Company or the tra:r1sfer agent of the Compa:r1y of a
        certificate for U1lits duly endorsed or accompanied by proper evidence of succession, assignation or authority to
        transfer, it shall be the duty of the Company to issue a new certificate to the person entitled thereto, cancel the old
        certificate and record the transaction upon its books. Upon receipt of proper transfer instructions from the registered
        owner of uncertificated Units such uncertificated Units shall be canceled and issuance of new equivalent
        uncertificated Units or certificated Units shall be made to the person entitled thereto and the transaction shall be
        recorded upon the books of the Company.

                 (b)      In addition, no transfer of any Unit in the Company may be made to any person or entity if (1) in
        the opinion of legal counsel to the Company, it could result in the Company being treated as an association or
        publicly traded partnership taxable as a corporation; or (2) such transfer is effected through a:r1 "established secmities
        market" or a "secondary market (or the substantial equivalent thereof)", within the meaning of Section 7704 of the
        Code.

                  (c)     Any transfer of a Unit which is not made in compliance with the provisions of this Agreement
        shall be void, and the Company shall not recognize any such transfer.

                 (d)       Each Membership Interest Certificate will be stamped or otherwise imprinted with a legend in
        substantially the following form:

                 THE SECURITIES REPRESENTED HEREBY HA VE NOT BEEN REGISTERED UNDER THE
                 SECURITIES ACT OF 1933, AS AMENDED (THE "SECURITIES ACT"), OR UNDER THE
                 SECURITIES LAWS OF CERTAIN STATES. THESE SECURITIES ARE SUBJECT TO
                 RESTRICTIONS ON TRANSFERABILITY AND RESALE AND MAY NOT BE TRANSFERRED OR
                 RESOLD EXCEPT AS PERMITTED UNDER THE SECURITIES ACT AND APPLICABLE STATE
                 SECURITIES LAWS, PURSUANT TO REGISTRATION OR EXEMPTION THEREFROM.
                 INVESTORS SHOULD BE A WARE THAT THEY MAY BE REQUIRED TO BEAR THE FINANCIAL
                 RISKS OF THIS INVESTMENT FOR AN INDEFINITE PERIOD OF TIME. THE ISSUER OF THESE
                 SECURITIES MAY REQUIRE AN OPINION OF COUNSEL IN FORM AND SUBSTANCE
                 SATISFACTORY TO THE ISSUER TO THE EFFECT THAT ANY PROPOSED TRANSFER OR




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                 RESALE IS IN COMPLIANCE WITH THE SECURITIES ACT AND ANY APPLICABLE STATE
                 SECURITIES LAWS.

                 THE UNITS REPRESENTED BY THIS CERTIFICATE ARE SUBJECT TO RESTRICTIONS ON
                 TRANSFERS AND PUBLIC OR PRIVATE RESALE INCLUDING, AMONG OTHER
                 RESTRICTIONS, (A) THE RESTRICTIONS AND CONDITIONS SET FORTH IN A RESTRICTED
                 UNIT PURCHASE AGREEMENT BETWEEN THE ISSUER AND THE ORIGINAL HOLDER OF
                 THESE UNITS AND (B) THE RESTRICTIONS AND CONDITIONS SPECIFIED IN THE LIMITED
                 LIABILITY COMPANY AGREEMENT OF THE COMPANY DATED AS OF APRIL 6, 2016, AMONG
                 THE PARTIES THERETO, AS IT MAY BE AMENDED, SUPPLEMENTED AND/OR RESTATED
                 FROM TIME TO TIME, AND NO TRANSFER OF THESE SECURITIES WILL BEVAUD OR
                 EFFECTIVE UNTIL ALL SUCH CONDITIONS HA VE BEEN FULFILLED. COPIES OF SUCH
                 AGREEMENTS MAY BE OBTAINED AT NO COST BY WRITTEN REQUEST MADE BY THE
                 HOLDER OF RECORD OF THIS CERTIFICATE TO THE SECRETARY OR OTHER OFFICER OF
                 THE ISSUER OF SUCH SECURITIES.

        18.       Assignment. Any permitted new or substitute Member shall become a new Member of the Company with
        full rights and powers as a Member of the Company upon the execution of a counterpart signature page to this
        Agreement to evidence its written acceptance of the terms and provisions applicable to Members hereof. To the
        extent any assignment, transfer or other disposition is given effect solely by operation of law, the assignee,
        transferee or recipient of such disposition, as the case may be, shall possess a mere economic interest only and shall
        not be admitted to the Company as a substitute Member.

        L9.      Successors and Assigns. This Agreement binds the Members and their respective distributees, successors,
        and assigns and any other person claiming a right or benefit under or covered by this Agreement.

        20.      Waiver. No provision of this Agreement will be deemed to have been waived except if such waiver is
        contained in a written instrument executed by the party against which such waiver is to be enforced, and no such
        waiver will be deemed to be a waiver of any other or further obligation or liability of the party or parties in whose
        favor the waiver was given. The rights and remedies of the parties under this Agreement are in addition to all other
        rights and remedies, at law or in equity, that they may have against the other parties hereto.

        21.       Notices. Any notice or other communication hereunder must be given in writing and (a) delivered in
        person, (b) transmitted by electronic mail or (c) sent by overnight courier or by certified or registered mail (postage
        prepaid, receipt requested) to the then cun-ent address of the Company or to the address of the applicable Member(s)
        set forth on Schedule I, or to such other address as the applicable party shall have last designated by such notice to
        the other parties. 'Where a notice is sent by next-day or second-day courier service, service of the notice shall be
        deemed to be effected by properly addressing, pre-paying and sending by next-day or second-day service through an
        internationally-recognized courier a letter containing the notice, with a confirmation of delivery, and to have been
        effected at the expiration of two (2) days after the letter containing the same is sent as aforesaid. Where a notice is
        sent by electronic mail, service of the notice shall be deemed to be effected by properly addressing and sending such
        notice through a transmitting organization, with a written confirmation of delivery, and to have been effected on the
        day the same is sent as aforesaid.

        22 .      No Prohibited Transactions. Notwithstanding any other provision of this Agreement, no action shall be
        required of or be taken by any Member, Managing Member or the Company, and no provision of this Agreement
        shall be deemed or interpreted to pennit any action by any Member, Managing Member or the Company, that would
        constitute a non-exempt prohibited transaction described in Section 4975 of the Code, or a pledging described in
        Section 408(e)(4) of the Code, and any such action taken shall be void from its beginning.

        23.      Construction; Headings. Whenever the singular number is used in this Agreement and when required by
        the context, the same shall include the plural and vice versa, and the masculine gender shall include the feminine and
        neuter genders and vice versa. The headings in this Agreement are inserted for convenience only and are in no way
        intended to describe, interpret, define or limit the scope, extent or intent of this Agreement or any provision hereof.




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         (.ompanyIN WITNESS W.IIEREOF, !lie umlmigned hM duly executed d,ilii Ouo Trucking UC Limited Liabilii"
                  Agreemen1 as of the date firi;! written above,                            ,                 J




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